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                                                                                                    United States Bankruptcy Court
                                     UNITED STATES BANKRUPTCY COURT                                     Southern District of Texas
                                       SOUTHERN DISTRICT OF TEXAS                                          ENTERED
                                                                                                       November 16, 2023
In Re:             Gustavo Giles−Flores                                                                 Nathan Ochsner, Clerk

                   Debtor(s)                             Case No.: 16−34941
                                                         Chapter: 13


                                     ORDER TO FILE § 1328 CERTIFICATION

     The chapter 13 trustee has notified the Court that the confirmed plan has been completed. The discharge in this
case cannot be issued until the requirements of § 1328 have been satisfied. The satisfaction of § 1328's requirements
has not yet been demonstrated to the Court. Accordingly, the Court orders:

         1. This case will be closed without a discharge unless the debtor(s) demonstrate compliance with the
         requirements of § 1328.

         2. Not later than 45 days after the entry date of this order, the debtor(s) must either:

                 A. Complete, execute and file with the clerk of the Court the certification and
                 motion included in this order; or

                 B. File a pleading with the Court in which the debtor(s) demonstrate an entitlement
                 to a chapter 13 discharge.

     Debtors submitting paper documents by mail to the clerk of the Court in response to this order should
send such documents to:

    United States Bankruptcy Court
    PO Box 61010
    Houston, TX 77208−1010



Signed and Entered on Docket: 11/16/23
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Exhibit A

                                     UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF TEXAS


In Re:              Gustavo Giles−Flores

                    Debtor(s)                                  Case No.: 16−34941
                                                               Chapter: 13


   DEBTORS CERTIFICATION, MOTION FOR ENTRY OF CHAPTER 13 DISCHARGE AND PROPOSED
                                 DISCHARGE ORDER

                 THIS MOTION SEEKS AN ORDER DISCHARGING THE DEBTORS
                 PURSUANT TO § 1328(a) OF THE BANKRUPTCY CODE. IF YOU OPPOSE
                 THE MOTION, YOU MUST FILE AN OBJECTION WITHIN 21 DAYS OF THE
                 DATE LISTED BELOW IN THE CERTIFICATE OF SERVICE. YOUR
                 OBJECTION MUST SET FORTH THE SPECIFIC FACTUAL ALLEGATIONS
                 WITH WHICH YOU DISAGREE. IF NO TIMELY OBJECTION IS FILED,
                 THE COURT MAY GRANT THE RELIEF.

The Debtors move for entry of a discharge under § 1328(a) of the Bankruptcy Code.

         1. By signing below, the Debtors certify under penalty of perjury under the laws of the United States
         of America that the following statements are true and correct:

                 A. We have completed the personal financial management instructional course from
                 an agency approved by the United States Trustee. A copy of Official Form 423 is
                 attached.

                 B. If I owe a debt arising from (a) any violation of any state or federal securities
                 laws, regulations or orders; (b) fraud, deceit or manipulation in a fiduciary capacity
                 or in connection with the purchase or sale of any security; (c) a civil remedy under §
                 1964 of title 18; or (d) a criminal act, intentional tort, or willful or reckless
                 misconduct that caused serious physical injury or death to another individual in the
                 preceding 5 years, then I have not claimed an exemption for my residence in an
                 amount in excess of $160,375.

                 C. All amounts payable by me on a domestic support obligation, that are due
                 through this date (including amounts due before the petition was filed in this case,
                 but only to the extent provided for by the plan) have been paid;

                 D. I have not received a discharge in a case filed under chapter 7, 11 or 12 of the
                 Bankruptcy Code during the four−year period before the date that my petition was
                 filed in this case;

                 E. I have not received a discharge in a case filed under chapter 13 of the
                 Bankruptcy Code during the two−year period before the date that my petition was
                 filed in this case;

                 F. No criminal proceeding is pending against me alleging that I am guilty of a
                 felony; and

                 G. No civil case is pending against me alleging that I am liable for any (a) violation
                 of the Federal securities laws, any State securities law, or any regulation or order
                 issued under Federal securities laws or State securities laws; (b) fraud, deceit or
                 manipulation in a fiduciary capacity or in connection with the purchase or sale of any
                 security; (c) civil remedy under § 1964 of title 18; or (d) criminal act, intentional tort,
                 or willful or reckless misconduct that caused serious physical injury or death to
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               another individual in the preceding 5 years.

       2. I have made all payments required by my confirmed chapter 13 plan.




       Signed: ____________________________________ ___________

               Debtor's Signature                Date



               ___________________________________ ___________

               Spouse's Signature (in Joint Case Only)        Date




{SIGNATURE BLOCK FOR ATTORNEY}




                                               Certificate of Service




On ______________, a copy of this pleading was served on each of the persons listed on the attached service list by
(i) prepaid United States Mail; or (ii) electronic service via the Court's ECF system.
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B23 (Official Form 23)(12/10)

                                       UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS


In Re:                Gustavo Giles−Flores

                      Debtor(s)                              Case No.: 16−34941
                                                             Chapter: 13


      DEBTOR'S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL COURSE
                     CONCERNING PERSONAL FINANCIAL MANAGEMENT

       Every individual debtor in a chapter 7, chapter 11 in which § 1141(d)(3) applies, or chapter 13 case must file
this certification. If a joint petition is filed, each spouse must complete and file a separate certification. Complete
one of the following statements and file by the deadline stated below:

                __ I, __________________________________________, the debtor in the above−styled
                                (Printed Name of Debtor)
         case, hereby certify that on _____________________(Date), I completed an instructional course in

         personal financial management provided by _____________________________________________,
                                                                 (Name of Provider)
         an approved personal financial management provider.

                 Certificate No.(if any):_________________________________________.

                __ I, __________________________________________, the debtor in the above−styled
                                (Printed Name of Debtor)
         case, hereby certify that no personal financial management course is required because of [Check the
         appropriate option.]:
               __ Incapacity or disability, as defined in 11 U.S.C. §109(h);
               __ Active military duty in a military combat zone; or
               __ Residence in a district in which the United States trustee (or bankruptcy administrator) has
                   determined that the approved instructional courses are not adequate at this time to serve the
                   additional individuals who would otherwise be required to complete such courses.

         Signature of Debtor: ______________________________________________________

         Date: ____________________________

______________________________________________________________________________________________

      Instructions: Use this form only to certify whether you completed a course in personal financial management.
(Fed. R. Bankr. P. 1007(b)(7).) Do NOT use this form to file the certification given to you by your prepetition credit
counseling provider and do NOT include with the petition when filing your case.

      Filing Deadlines: In a chapter 7 case, file within 60 days of the first date set for the meeting of creditors under
§ 341 of the Bankruptcy Code. In a chapter 11 or 13 case, file no later than the last payment made by the debtor as
required by the plan or the filing of a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Code. (See
Fed. R. Bankr.P. 1007(c).)
